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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                              WACO DIVISON

LATINOS FOR TRUMP, BLACKS                 §
FOR TRUMP, JOSHUA MACIAS,                 §
M.S., B. G., J.B., J.J.,                  §
                                          §
       Plaintiffs.                        §
                                          §
                                          §
v.                                        §       CIVIL ACTION NO. 6:21-CV-43
                                          §
PETE SESSIONS, MITCH                      §
McCONNELL, NANCY PELOSI,                  §
MARK ZUCKERBERG, CHUCK                    §
SCHUMER, ALEXANDRIA                       §
OCASIO-CORTEZ, BRAD                       §
RAFFENSPERGER, ALL                        §
MEMBERS OF THE 117TH U.S.                 §       JURY TRIAL REQUESTED
CONGRESS, et al.,

       Defendants.

     EMERGENCY REQUEST FOR ORAL TELEPHONIC HEARING AND
      ENTRY OF ALTERNATE TEMPORARY RESTRAINING ORDER

COME NOW, Latinos for Trump, Blacks for Trump, Joshua Macias, M.S., B. G., J.B.,

J.J., (collectively, “Plaintiffs”), by and through their attorneys, Paul M. Davis, and

Kellye SoRelle, and file this their Emergency Request for Oral Telephonic Hearing

and Entry of Alternate Temporary Restraining Order on their Emergency Motion for

Temporary Restraining Order (“Brief”) to this Honorable Court and, in support

thereof, respectfully represent as follows:




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          A. REQUEST FOR ALTERNATIVE RESTRAINING ORDER: A CALL
           FOR THE RULE OF LAW THROUGH THE CHECKS AND BALANCES
           OF POWER UNDER THE CONSTITUTION OF THE UNITED STATES

           1.       “The only thing necessary for the triumph of evil is for good men to do

nothing.” Undersigned Counsel believe they understand the difficult position that

the Court is in. If Counsel were in the Court’s shoes, Counsel would be absolutely

terrified to enter the Temporary Restraining Order as proposed in the Motion.

Indeed, Counsel is aware of real and severe threats against their own lives and the

lives of their own families as a result of filing this lawsuit. However, Counsel would

urge the Court that the severe threat to the American People1 posed if the Court does

not act to issue some sort of restraining order to check the power of the illegitimate

Congress and President until the issues of law set forth in this lawsuit have had the

opportunity for at least a hearing on the request for Preliminary Injunction infinitely

outweighs the risk to the People posed by a failure to act.

           2.       When there is a fundamental breakdown of the checks and balances of

powers in the Constitution where (1) executive officials of the 50 states are simply

allowed to ignore federal election law on the basis of a “crisis,” (2) Congress and the

President are allowed to take power and enact laws and change policy despite the fact

that the election of Congress and the President was conducted with ballots that were

patently illegal, and (3) the judiciary branch refuses to exercise its check on Congress

and the President’s illegal acts, then the balance of power set forth in the Constitution


1
    All capitalized terms not defined herein shall have the meaning ascribed in Plaintiff’s Original Complaint (Doc. 1).


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has failed and United States is no longer a nation operating under the rule of law.

Such a situation presents clear risks of severe consequences, including but not limited

to, the persecution of those who simply disagree with the ideology and policies of those

in power, rampant instability of domestic and global financial markets, and other

unforeseeable acts.

      3.     With the Inauguration already in process and President Trump having

left the White House for Florida, indeed, there is little chance any official would even

recognize the legitimacy of a restraining order from the Court at this late hour.

However, for the Judicial Branch to simply stand idly by for the illegal swearing in

of a US President and for the illegal Congress and new President to then work

together to pass illegal laws and change US Policy would be a complete breakdown

in the checks and balances set forth in the Constitution resulting in potentially

unthinkable consequences to the American People who will have lost the power to

keep their government accountable.

      4.     Congress enacted HAVA in the wake of the 2000 Bush versus Gore

election after the “hanging chad” debacle in Florida severely eroded public confidence

in the integrity of US elections. The failure of the 50 states in regulating their

elections under US law has eroded public confidence in election integrity to much

lower levels that were ever caused by the 2000 Presidential Election. If the Court

will not restrain the inauguration itself, then Plaintiffs urge the Court to act to

restrain Congress and the President from passing and signing any new legislation or

from making any substantial departures from current policy.




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                                           B. CONCLUSION

        5.      In closing, Counsel would urge, while it is a tradition for states (meaning

lawfully elected officers of each regional government) to bring legal actions to contest

the legitimacy of the acts of the federal government, often challenging the issue of

‘states rights’ to oppose the acts of the federal government, these actions such as the

State of Texas’s lawsuits against the Obama Administration and forthcoming

challenges to the Biden Administration,2 take years to proceed through the federal

court system, and during such time the People are damaged by continued acts of the

federal government’s overreach. The risk of harm to be suffered by Plaintiffs and the

People is particularly grievous where the current federal government was not

lawfully election.

        6.      This lawsuit is perhaps the first challenge brought by a group of

minorities representing the People of the United States, writ large, who simply seek

a restoration of their constitutional rights against the partisan enterprises and the

government officials with whom they collude the thwart the will of the People. The




2Tom Ozimek, “Texas Set to Bring Volley of Lawsuits Against Biden Administration,” January 20, 2021,
available at
https://www.theepochtimes.com/texas-set-to-bring-volley-of-lawsuits-against-biden-
administration_3664057.html (“The Lone Star state sued the administration of former President
Barack Obama dozens of times to stop initiatives such as the Clean Power Plan or to end the
Affordable Care Act, the signature health plan known as Obamacare.”)



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Court must act to protect Plaintiffs and the People against an illegitimate

government from taking significant departure from current US law and policy.


                                                       IX.
                                                     PRAYER

WHEREFORE, Plaintiffs respectfully request that the Court schedule an immediate

oral hearing to hear argument on the scope of an alternate Temporary Restraining

Order. Counsel will now work on an alternate form of order while waiting for further

word from the Court.


Submitted to the Honorable Court this 20th day of January, 2021.

                                                       /s/ Paul M. Davis
                                                       Paul M. Davis
                                                       Texas Bar Number 24078401
                                                       Admitted to Western Dist. TX
                                                       Former Associate General Counsel of
                                                       Goosehead Insurance, Inc.
                                                       (Terminated after peacefully protesting)
                                                       Now Solo Civil Rights Attorney

                                                       Kellye SoRelle
                                                       Texas Bar Number 24053486
                                                       Pro Hace Vice Application Forthcoming3

                                                       ATTORNEYS FOR PLAINTIFFS



              [No Certificate of Service as this Motion Requests Ex Parte Relief]




3
    Contact info omitted for privacy and security purposes.


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